     CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 1 of 9



                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

                                                           CIVIL NO. 17-1884 (PAM/HB)
In re EpiPen ERISA Litigation,

(This Document Applies to All Cases)               PRETRIAL SCHEDULING ORDER



       Pursuant to Rule 16 of the Federal Rules of Civil Procedure and the Local Rules of

this Court, and in order to secure the just, speedy and inexpensive determination of this

action, the following schedule will govern these proceedings unless modified pursuant to

Local Rule 16.3.

       This Pretrial Scheduling Order has been prepared with the input of counsel for the

parties and the parties are required to diligently work to meet the deadlines. The parties

are expected to work cooperatively throughout this litigation to narrow the issues in

dispute, to use reasonable, good faith and proportional efforts to preserve, request,

identify and produce relevant information and resolve discovery disputes, and to keep the

Court timely informed of developments in the case that could significantly affect the case

management schedule. 1




1
       Parties who agree by stipulation to seek a modification of this Scheduling Order
may submit the stipulation with the proposed order to the Court without a motion and do
not need to file a formal motion; however, the stipulation must meet the requirements of
Local Rule 16.3.
     CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 2 of 9



PRESERVATION OF DOCUMENTS AND ELECTRONIC DISCOVERY

       The parties will discuss a plan and protocol for any electronic discovery and any

preservation issues before December 15, 2018, and will present any disputes to the Court

by letter. The parties are advised that an e-Discovery Guide is available on the Court’s

website http://www.mnd.uscourts.gov.

INITIAL DISCLOSURES AND FACT DISCOVERY

       1.     The parties must make their initial disclosures under Fed. R. Civ. P.
              26(a)(1) on or before December 10, 2018.

       2.     The parties will have substantially completed document production
              by April 1, 2019.

       3.     The parties must commence fact discovery procedures in time to be
              completed on or before September 1, 2019.

       4.     The parties shall take no more than 32 fact-discovery depositions.

EXPERT DISCOVERY

       Disclosure of the identity of expert witnesses under Rule 26(a)(2)(A) and

the full disclosures required by Rule 26(a)(2)(B), and production of the written

report prepared and signed by the expert witness, must be made as follows:

       1.     Disclosure of the identities of expert witnesses under Rule 26(a)(2)(A) and
              the full disclosures required by Rule 26(a)(2)(B) (accompanied by the
              written report prepared and signed by the expert witness) and the full
              disclosures required by Rule 26(a)(2)(C), shall be made as follows:

              a)     Disclose and serve expert reports on or before June 1, 2019.

              b)     Disclose and serve rebuttal expert reports on or before July 1, 2019.

              2.     Expert depositions, shall be completed by September 1, 2019.
              3.     Expert witness discovery shall be completed by October 1, 2019.




                                             2
     CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 3 of 9



NON-DISPOSITIVE MOTION DEADLINES

       1.      Except as otherwise specifically set forth this section, all motions that seek
               to amend the pleadings or to add parties must be filed and served on or
               before February 1, 2019.

       2.      The following schedule shall govern any motion for class certification:

            a. Motion for Class Certification filed by July 1, 2019;

            b. Opposition to Motion for Class Certification filed by August 1, 2019;

            c. Reply in support of Motion for Class Certification filed by September 1,
               2019;

            d. Hearing on Motion for Class Certification to be held on or about October
               1, 2019. Any such hearing must be scheduled with the Court at the time
               the Motion is filed.

       3.      Except as otherwise specifically set forth this section, all non-dispositive
               motions and supporting documents, including those that relate to fact and
               expert discovery, shall be filed and served on or before October 15, 2019.

DISCOVERY DISPUTES

       Before moving for an order relating to discovery, the movant must request an

informal conference with the Court. The purpose of this call is to explore narrowing the

discovery dispute, confirm that informal dispute resolution is considered, and to discuss

the most efficient way to brief disputed issues. Accordingly, before moving for an order

relating to discovery, the movant must request an informal conference with the Court by

submitting a SHORT JOINT EMAIL to chambers at

Magistrate_Bowbeer_Chambers@mnd.uscourts.gov stating:

               a)     the discovery dispute;

               b)     whether all parties agree to informal dispute resolution; and



                                               3
     CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 4 of 9



              c)     any other information that would be helpful to the parties and
                     the Court in resolving the dispute in a just, speedy, and
                     inexpensive way. No attachments are permitted. The Court
                     will then schedule a conference call.

       The informal conference is required to ensure that the dispute is presented and

resolved consistent with Fed. R. Civ. P. 1. It does not mean that the parties all concede to

informal dispute resolution.

NON-DISPOSITIVE MOTIONS

       If a non-dispositive motion is filed, it must comply with the Electronic Case Filing

Procedures for the District of Minnesota, Local Rules 7.1, and for discovery motions,

also be in the form prescribed by Local Rule 37.1.

       The “Meet and Confer” requirement must include attempts to meet and confer

through personal contact, rather than solely through correspondence.

       All non-dispositive motions must be scheduled for hearing by calling Judy Kirby,

Courtroom Deputy to Magistrate Judge Bowbeer (651) 848-1900, prior to filing. Even if

the parties agree that a motion can be submitted on the papers without oral argument, Ms.

Kirby must be contacted to set the date for submission of the matter to the Court. The

matter will be deemed submitted upon receipt of the last filing. The Court will determine

whether to hold a hearing.

       Ideally, if the parties are not able to resolve their dispute following their meet and

confer and motion practice is necessary, the parties would jointly contact the Court to

obtain a hearing date that works for both sides.




                                              4
     CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 5 of 9



       Once the moving party has secured a hearing date, it must promptly serve and file

the notice of hearing informing all parties of the nature of the motion and the date, time

and location of the hearing. The moving party may serve and file the motion and

remaining motion papers in accordance with the dates prescribed by Local Rule 7.1,

unless a different briefing schedule is set. A party may not call chambers and secure a

hearing date or “hold” a hearing date without that party promptly serving and filing a

notice of hearing.

       Counsel may not notice additional motions for hearing on an already existing

hearing date without first contacting the Court for permission.

       Local Rule 37.1 governs the form of discovery motions. Counsel must adhere to

the Rule; however, they should prepare their documents to offer a clear presentation of

the discovery dispute in an efficient and effective way. The status of each dispute should

be clear to the Court without having to cross-reference multiple exhibits. Your

arguments should be precise. To the extent a burden is asserted, support for this position

must be included. One suggested approach is set forth below.

Insert the actual discovery request

Insert the actual response and objections

Insert position after meet and confer to make clear any compromise positions offered by
either side

Legal argument

Specific relief sought




                                             5
     CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 6 of 9



       The Court will give the parties permission to exceed the word limits for their

memorandum if the additional words will help avoid the need to cross-reference multiple

exhibits in order to understand the:

          • requests at issue;

          • responses and basis for objections;

          • parties’ positions after their meet and confer sessions;

          • legal arguments; and

          • specific relief sought.

       If a party seeks to exceed the limits, they must obtain permission by filing and

serving a letter pursuant to Local Rule 7.1(f)(1)(D). The letter should reference this

Scheduling Order.



INFORMAL DISPUTE RESOLUTION

       Prior to initiating any non-dispositive motion, parties should consider whether the

matter can be informally resolved without a formal non-dispositive motion. If an

informal dispute resolution (“IDR”) process is used, there is no transcript recording of

informal proceedings, including telephone conversations. The matter is not briefed and

declaration and sworn affidavits are not filed. Therefore, all parties must be in agreement

to participate informally before the Court will consider IDR. If there is no agreement to

resolve a dispute though IDR, then the dispute must be presented to the Court through

formal motion practice.




                                             6
      CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 7 of 9



       If the parties agree to pursue the IDR process, the parties must jointly contact

chambers to schedule a telephone conference. The parties will be allowed to

simultaneously electronically file a short letter, not to exceed three (3) pages in length,

setting forth the issue to be resolved. If not otherwise specified by the Court, the letter

submissions should be served and filed at least two (2) business days before the telephone

conference.

       If the parties wish to proceed with IDR in a manner other than that outlined above,

the short letter must include a specific proposal for the Court to consider.

DISPOSITIVE MOTIONS

       All dispositive motions shall be served and filed on or before October 15, 2019.

Oppositions to any dispositive motions shall be filed by December 1, 2019, and replies in

support of any dispositive motions shall be filed by January 1, 2020. All dispositive

motions shall be scheduled by contacting Jackie Phipps, Courtroom Deputy, 651-848-

1156. Six to eight weeks advance notice is necessary to place a dispositive motion on the

calendar.


HANDLING OF SEALED DOCUMENTS FILED IN CONNECTION WITH ALL
MOTIONS

       Counsel must be familiar with Local Rule 5.6 on filing documents under seal in

civil cases, effective February 27, 2017, and any amendments to that Local Rule. If a

joint motion regarding continued sealing is filed pursuant to LR 5.6, it must comply with

the Local Rule. For example:




                                              7
     CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 8 of 9



       (A)    Joint Motion’s Contents. The joint motion must list by docket

       number each document filed under temporary seal in connection with the

       underlying motion and, for each such document:

              (i)     briefly describe the document;

              (ii)    explain why the parties agree that the document or information in the

                      document should remain sealed or be unsealed or, if the parties

                      disagree, briefly explain each party’s position; and

              (iii)   identify any nonparty who has designated the document or

                      information in the document as confidential or proprietary.

       (B)    Party to File Joint Motion. Unless the parties agree or the magistrate judge

       orders otherwise, the party who filed the first document under temporary seal in

       connection with the underlying motion must file the joint motion.

       The Advisory Comments to the Local Rule provide that the “joint motion must be

filed using the Joint Motion Regarding Continued Sealing Form, which is available on

the court’s website.” The current form includes a list of example explanations in a

footnote. The designation of material as confidential or protected by any party pursuant

to a protective order during the course of discovery as the sole basis for filing the material

under seal is not a sufficient explanation to justify continued sealing.

See http://www.mnd.uscourts.gov/FORMS/Clerks_Office/Joint-Motion-Form.pdf

SETTLEMENT CONFERENCE

       A settlement conference will take place on or after March 1, 2020. A separate

Order for Settlement Conference will be issued.


                                              8
        CASE 0:17-cv-01884-PAM-HB Document 314 Filed 12/10/18 Page 9 of 9



        The parties are expected to engage in mediation by May 1, 2019. The parties shall

agree on a private mediator or, if unable to agree, each side shall submit the names of

three mediators to the Court by December 17, 2018, and the Court will choose from that

list.

TRIAL

        This case will be ready for a bench trial on or about June 1, 2020. The anticipated

length of trial is four weeks.



Date: December 10, 2018

                                                 s/ Paul A. Magnuson
                                                 Paul A. Magnuson
                                                 United States District Court Judge




                                             9
